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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ALLEN BROWN,                                :       1:18-cv-2035
                                            :
                   Plaintiff,               :       Hon. John E. Jones III
                                            :
     v.                                     :
                                            :
DAUPHIN COUNTY et. al.,                     :
                                            :
                   Defendants.              :


                                     ORDER

                                 October 20, 2020

     In conformity with the Memorandum issued on today’s date, IT IS

HEREBY ORDERED THAT:

  1. Defendant Paul Leggore’s Motion for Sanctions, (Doc. 43), is GRANTED.

  2. Plaintiff’s Second Amended Complaint, (Doc. 31), is DISMISSED.

  3. The Clerk of the Court SHALL CLOSE the file on this case.

                                           /s/ John E. Jones III
                                           John E. Jones III, Chief Judge
                                           United States District Court
                                           Middle District of Pennsylvania
